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                                                                                FILED
                                                                                   Clerk
                                                                               District Court

         MINUTES OF THE UNITED STATES DISTRICT COURT MAY 12 2022
              FOR THE NORTHERN MARIANA ISLANDS for the Northern Mariana Islands
                                                                        By________________________
                                                                                (Deputy Clerk)
  1:22-cv-00002                                                  May 12, 2022
                                                                 8:30 a.m.

OZCAN GENC et al., -vs- IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC et al.,

 PRESENT: HON. RAMONA V. MANGLONA, CHIEF JUDGE PRESIDING
          JENNY CHHEA, LAW CLERK
          HEIDI DOOGAN, COURT REPORTER
          FRANCINE ATALIG, COURTROOM DEPUTY
          RICHARD MILLER, ATTORNEY FOR PLAINTIFF
          JOEY SAN NICOLAS, ATTORNEY FOR DEFENDANT
          DANIEL WEINER, ATTORNEY FOR DEFENDANT (vtc)
          AMINA HASSAN, ATTORNEY FOR DEFENDANT (vtc)
          ELEANOR ERNEY, ATTORNEY FOR DEFENDANT (vtc)
          TAO XING, IPI REPRESENTATIVE

 PROCEEDINGS: MOTION TO DISMISS

  Court addressed Defendant’s Motion to Dismiss the Complaint or, in the
  Alternative, to Strike Plaintiff’s Class Action Allegations.

  Court granted the motion to strike class action allegations.

  Attorney Hassan argued in support of the motion to dismiss the complaint.
  Attorney Miller argued in opposition to the motion. Attorney Hassan argued in
  response. Court had questions and counsel responded.

  Court granted Defendant’s Motion to Dismiss the Complaint, ECF NO. [3], with
  leave for Plaintiffs to amend the complaint including to amend class definition.
  Court further granted Plaintiff’s request for enlargement of time. Plaintiff’s
  amended complaint is due Monday, June 27, 2022.



                                              Adjourned at 9:10 a.m.
                                             /s/ Francine Atalig, Courtroom Deputy
